    Case 1:18-cv-00444-RP Document 182-1 Filed 07/06/20 Page 1 of 55




                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION


MWK RECRUITING, INC,
          Plaintiff,
          v.
EVAN   P.  JOWERS,  YULIYA
VINOKUROVA, LEGIS VENTURES                    Case No. 1:18-cv-00444-RP
(HK) COMPANY LIMITED, AND
ALEJANDRO VARGAS,
          Defendants




EVAN P. JOWERS,
          Counterclaimant,
          v.
MWK RECRUITING, INC.,
ROBERT E. KINNEY,
MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED,
          Counterdefendants.



                  DECLARATION OF ROBERT E. KINNEY
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        I, Robert E. Kinney, declare as follows:


   1.   My name is Robert E. Kinney. I am of sound mind, I am capable of making this declaration

(“Declaration”), and I have personal knowledge of the facts stated in this Declaration. All of the

facts stated in this Declaration are true and correct. I am over 21 years of age and have never been

convicted of a felony or a crime of moral turpitude in any jurisdiction.

   2.   On February 22, 2019, counsel for MWK and James Bookhout, acting as counsel for Evan

Jowers (“Jowers”), discussed seeking entry of a protective order in this case. MWK sought entry

of the protective order, counsel for Jowers reviewed the form, commented, and stated that he was

not opposed to the entry of a protective order in this case if his requested change was made. The

form was based on the standard form used in the Western District of Texas. A true and correct

copy of email correspondence between counsel for MWK and counsel for Jowers related to entry

of the protective order in February 2019, is attached hereto as Exhibit 1, including a redline of the

change requested by Mr. Bookhout. I was retained by MWK Recruiting, Inc. (now known as

Counsel Holdings, Inc.), for representation in this matter, and I also represent the counter-

defendants. At all times relevant, I have been retained counsel in this matter.

   3.   On May 6, 2020, Mr. Bookhout asked, on a telephone conference attended by Tristan

Loanzon and myself for the MWK Entities, whether the MWK Entities would be opposed to an

amendment to the Protective Order which would allow Jowers to designate certain documents as

a special category of “Attorneys’ Eyes Only,” which I would be excluded from viewing. Mr.

Bookhout stated that Jowers felt that certain information was very sensitive competitive

information and that my dual role as counsel for MWK and as President of Kinney Recruiting

made a change to the Protective Order to hide this information from me imperative in Jowers’s

view. I told Mr. Bookhout I would consider any amendment he wanted to propose but that I did



DECLARATION OF ROBERT E. KINNEY                                                            PAGE |2
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not see the need, especially with regard to old information. Following the conference call, on May

6, 2020, I sent Mr. Bookhout an email to follow-up regarding AEO designations attached as

Exhibit 1A. The message indicated that we did not agree that a special AEO designation excluding

my ability to view the information was appropriate, and also indicated that MWK does not believe

any of the information identifying his clients and candidates was appropriate for AEO designation.

   4.   On May 14, 2020, Mr. Bookhout followed up with an email to me (copying Jowers’s new

counsel, Robert Tauler) and included a redline of the Protective Order showing his requested

changes, which added an “Outside Attorneys’ Eyes Only” designation for what Mr. Bookhout

described as a “small subset” of documents “containing attorney candidates’ confidential

information that they had a reasonable expectation would not be disclosed to third parties except

for recruiting purposes.” He argued that the use of the term “outside counsel” in two places in the

Protective Order (¶7(b) and ¶7(c)) indicated that only outside counsel was intended to be permitted

to see AEO-designated material. A true and correct copy of the correspondence and the proposed

amendments is attached hereto as Exhibit 2.

   5.   On May 20, 2020, after careful consideration of Mr. Bookhout’s request related to

amending the Protective Order, I responded to his request in writing. I provided a counterproposal

which would have added a special designation but would only permit it to apply to active client

roles and candidates under present, active consideration. A true and correct copy of the transmittal

email and the portion of my letter to Mr. Bookhout dealing with amending the Protective Order is

attached as Exhibit 3. Jowers’s new counsel, Mr. Tauler, was copied on this correspondence.

   6.   I did not receive a response to my counterproposal from Mr. Bookhout or Mr. Tauler.

   7.   On behalf of Jowers, responding to the Court’s Order, Mr. Tauler produced by email to me

supplemental responses to Interrogatory No. 1 on May 27, 2020 listing Jowers’s placements in

2016-2017, and then on May 28, 2020 and on June 1, 2020, he sent me links to electronically


DECLARATION OF ROBERT E. KINNEY                                                           PAGE |3
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storied document images. A true and correct copy of the correspondence from Mr. Tauler

transmitting his supplemental responses is attached hereto as Exhibit 4. Mr. Tauler had asked us

for an extension to the Court’s May 25 deadline. I had told him I had no objection to the requested

extension of a few days. Nowhere in his transmittal email did Mr. Tauler indicate that any of the

information he was producing was marked AEO or that he viewed me as being excluded from

viewing any material marked AEO.

   8.   In total, the documents produced by Jowers in response to the Court’s Order of April 27,

2020 (Dkt. 168), consisted of 2,013 documents with a total of 16,089 pages. Of these, Jowers

labeled 5,915 pages (651 documents) “Attorneys’ Eyes Only.” The remainder were labeled

“Confidential.” Jowers’s supplemental response to Interrogatory No. 1 had no protective order

designation until it was amended by Mr. Tauler June 24, 2020, to add an AEO designation. On

July 1, 2020, Mr. Tauler again removed the AEO designation from Jowers’s response to

Interrogatory No. 1, a list of 2016-2017 placements.

   9.   The load file for the pages did not contain a field mapped to protective order designations

such that document management software could flag the documents as Attorneys Eyes Only. The

only indication of the protective order designations of the documents was the stamp on the face of

each document. As noted above (¶8), Jowers’s original supplemental response to Interrogatory No.

1 did not mention any protective order designation. Interrogatory No. 1 listed placements Jowers

had made in the first year after he left. Of the 14 candidates Jowers listed as persons he had placed

in that year, two came straight from the list of candidates he admitted sending out prior to departure

from Kinney Recruiting and several others were persons we already knew or suspected he had

placed for various reasons.

   10. I reviewed some of the material produced by Jowers. Each document was dated prior to

December 16, 2017, yet many pages were marked “Attorneys Eyes Only” (“AEO”). Jowers had


DECLARATION OF ROBERT E. KINNEY                                                             PAGE |4
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even marked information from public web pages, such as attorney biographies from law firm

websites, with “AEO.” For the reasons discussed above, I believed (and still believe) that I have

every right to view material marked “AEO” under the current Protective Order in this case.

   11. After a cursory review of the information in the Jowers supplemental production, it

appeared evident to me that there were certain gaps in the information provided by Jowers. For

example, one document dated December 18, 2016, was a letter from evan@evanjowers.com to a

client law firm of Kinney Recruiting inquiring about an interview that had occurred the prior week

in Seoul of a candidate Jowers had not submitted from his Kinney Recruiting email address (he

resigned December 16, 2016), but from some other address. The original email submitting the

candidate appeared to be missing. On June 16, I inquired with Mr. Tauler regarding why there

were gaps in Jowers’s production and whether his production was complete. In response, for the

first time, Mr. Tauler articulated his view that I am not qualified under the Protective Order to see

AEO-designated documents. A true and correct copy of correspondence between myself and Mr.

Tauler on this subject dated June 16, 2020, is attached hereto as Exhibit 5. In his letter, Mr. Tauler

stated, “I acknowledge that this may not have been made clear to you by my predecessor, so I am

not trying to cast blame at your side if this had not been previously communicated to you. Rather,

I think this is something we need to immediately address with the Court if we cannot reach an

agreement.”

   12. Mr. Tauler followed up with a formal “meet and confer” letter June 17, 2020, in which he

sought a telephone conference with counsel other than me to discuss the AEO-designated

information and threatened to seek sanctions and an order of contempt for my having looked at

AEO information improperly in his opinion. A true and correct copy of Mr. Tauler’s letter of June

17, 2020 is attached hereto as Exhibit 6. Only I was available for a telephone conference with Mr.

Tauler.


DECLARATION OF ROBERT E. KINNEY                                                             PAGE |5
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   13. On June 18, 2020, during a telephone conference which I attended for the MWK Entities

but which was attended by Mr. Tauler and two other attorneys for Jowers, Mr. Tauler

acknowledged that the information contained in the produced materials marked AEO all related to

placement activity by Jowers in 2016-2017. I pointed out to Mr. Tauler that, while my review had

been limited, I had seen public web page screenshots marked AEO. Mr. Tauler told me that Jowers

felt that information about placement activity that was several years old could provide actionable

intelligence to a competitor, and thus that he felt that this information was properly marked AEO.

I told him that I do not believe anything that old could possibly rise to the level that is required for

an AEO designation. I told Mr. Tauler that, of the pages I had reviewed which contained an AEO

designation, some of them were verbatim copies of attorney biography pages from public websites.

I told him that, in one other case I could remember, the email marked AEO related to the

submission by Jowers using his private, non-work email, of a candidate to one of the Kinney

Recruiting clients, and that Jowers had made the submission during the period when he was

employed by Kinney Recruiting LLC. In good faith I attempted to reach a compromise, but Mr.

Tauler did not agree that any of this information did not qualify as AEO information, and just

reiterated his view that I had no business even knowing what had been marked AEO. He refused

to discuss the details further with me. I reminded Mr. Tauler about the extensive meet and confer

process I had gone through on the same subject with Mr. Bookhout of DLA Piper, and of the fact

that Mr. Tauler was copied on much of that correspondence, and that I had received no response

to the compromise proposal I had sent on May 20, 2020. (See ¶5, supra). I asked Mr. Tauler if he

had a response to my proposal, and he had none.

   14. While I did not (and still have not) reviewed all of the information in the production marked

AEO, I used optical character recognition software to identify which documents contained the

words “Attorneys’ Eyes Only.” Since there was no metadata showing protective order


DECLARATION OF ROBERT E. KINNEY                                                               PAGE |6
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designations, this was the only way to determine what was marked AEO without looking at each

page. By pulling up a list of these documents, I was able to determine what the dates of the

documents were without reviewing them, and I was able to export a list of documents marked

AEO, a redacted copy of which is attached to Jowers’s Motion. (Dkt. 180). The list shows the

dates.

   15. Because all of the information marked Attorneys’ Eyes Only in this production was from

2016-2017 and in no way analogous to other categories of information that could properly be

marked AEO, I reviewed the Protective Order for the proper procedure to follow for dispute

resolution. (Dkt. 70). On June 18, 2020, I sent Mr. Tauler a challenge to his designation of each of

the 5,915 pages as Attorneys’ Eyes Only pursuant to ¶11(a) of the Protective Order, a true and

correct copy of which is attached hereto as Exhibit 7, and also I sent him a formal notice of our

designations of qualified persons under ¶11(b) of the Protective Order, a true and correct copy of

which is attached hereto as Exhibit 8. I invited Mr. Tauler to use the procedure specified in Section

11(b) of the Protective Order to object to my designation as a person qualified to view AEO-

designated material. Although DLA Piper was on explicit notice of our view that I am qualified to

view AEO-designated material since at least May 6, 2020, I did not assert that Mr. Tauler had

missed the 14 day window to challenge that designation, but instead offered him 14 more days,

until July 2, 2020.

   16. When originally transmitted on May 27, 2020, Jowers’s supplemental interrogatory

response had no Protective Order designation. On June 24, 2020, Mr. Tauler emailed counsel for

MWK to designate his Court-ordered response to Interrogatory 1 as “Attorneys Eyes Only” under

the Protective Order. A true and correct copy of Mr. Tauler’s letter of June 24, 2020 is attached

hereto as Exhibit 9. On July 1, 2020, Mr. Tauler sent a second letter, changing the Protective Order




DECLARATION OF ROBERT E. KINNEY                                                            PAGE |7
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designation from “AEO” to “Confidential” on his response to Interrogatory 1, at true and correct

copy of which is attached hereto as Exhibit 9A.

   17. Instead of seeking to challenge my designation as a Qualifed Person able to view AEO-

designated material, Mr. Tauler filed his Motion to Enforce Confidentiality and Protective Order

(Dkt. 180) on June 26, 2020, seeking sanctions. At no point in the process has Mr. Tauler provided

a response to the counterproposal that I had included in my letter of May 20, 2020 or an explanation

for why he waited until after he had produced AEO-designated documents he knew I would see to

make clear his position that I was not entitled to look at them.

   18. Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct.

   19. Executed in East Hampton, NY, on July 4, 2020.


                                                              /s/ Robert E Kinney

                                                              Robert E. Kinney




DECLARATION OF ROBERT E. KINNEY                                                           PAGE |8
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6/27/2020                                           Kinney Recruiting, Inc. Mail - RE: MWK v. Jowers et al - Protective Order



                                                                                                 Robert Kinney <robert@kinneyrecruiting.com>



  RE: MWK v. Jowers et al - Protective Order
  1 message

  Ray Mort <raymort@austinlaw.com>                                                          Fri, Feb 22, 2019 at 1:25 PM
  To: "Bookhout, James" <James.Bookhout@dlapiper.com>
  Cc: "Stefanova, Marina" <Marina.Stefanova@dlapiper.com>, "Katz, Marc" <Marc.Katz@dlapiper.com>, Robert Kinney
  <robert@kinneypc.com>


    Thanks,



    Made the change and will file as unopposed.



    - Ray



                           RAYMOND W. MORT, III



                           THE MORT LAW FIRM, PLLC
                           106 E. SIXTH STREET · S           900

                           AUSTIN · TEXAS · 78701


     AustinLaw.com · (512)-865-7950 · RayMort@AustinLaw.com




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    From: Bookhout, James <James.Bookhout@dlapiper.com>
    Sent: Friday, February 22, 2019 1:17 PM
    To: Ray Mort <raymort@AUSTINLAW.COM>
    Cc: Stefanova, Marina <Marina.Stefanova@dlapiper.com>; Katz, Marc <Marc.Katz@dlapiper.com>; Robert Kinney
    <robert@kinneypc.com>
    Subject: RE: MWK v. Jowers et al - Protective Order



https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1626192260378297881%7Cmsg-f%3A16261983417190…                              1/5



Exhibit 1 to REK Decl. July 4, 2020
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6/27/2020                                   Kinney Recruiting, Inc. Mail - RE: MWK v. Jowers et al - Protective Order

    Ray,


    We are unopposed to the proposed Protective Order save for the single change that appears in
    track changes in the attached, which is also part of the current version of the order on the Western
    District’s website. I believe this just corrects a typo from an older version that you may have used.


    We are fine with you filing a Motion for a Protective Order and listing us as unopposed. We don’t
    see the need for it to be a Joint Motion. Please revise accordingly.


    Thanks.




    James C. Bookhout
    Associate


    T +1 214.743.4549
    E james.bookhout@dlapiper.com




    NOTE: Effective February 15, 2019, we have relocated to the following address:



    DLA Piper LLP (US)
    1900 North Pearl Street

    Suite 2200
    Dallas, Texas 75201
    United States
    www.dlapiper.com




    From: Ray Mort <raymort@AUSTINLAW.COM>
    Sent: Friday, February 22, 2019 11:57 AM
    To: Bookhout, James <James.Bookhout@dlapiper.com>
    Cc: Stefanova, Marina <Marina.Stefanova@dlapiper.com>; Katz, Marc <Marc.Katz@dlapiper.com>; Robert Kinney
    <robert@kinneypc.com>
    Subject: RE: MWK v. Jowers et al - Protective Order



    [EXTERNAL]



https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1626192260378297881%7Cmsg-f%3A16261983417190…   2/5



Exhibit 1 to REK Decl. July 4, 2020
                        Case 1:18-cv-00444-RP Document 182-1 Filed 07/06/20 Page 11 of 55

6/27/2020                                           Kinney Recruiting, Inc. Mail - RE: MWK v. Jowers et al - Protective Order
    It is. No changes.



    - Ray



                           RAYMOND W. MORT, III



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    From: Bookhout, James <James.Bookhout@dlapiper.com>
    Sent: Friday, February 22, 2019 11:54 AM
    To: Ray Mort <raymort@AUSTINLAW.COM>
    Cc: Stefanova, Marina <Marina.Stefanova@dlapiper.com>; Katz, Marc <Marc.Katz@dlapiper.com>; Robert Kinney
    <robert@kinneypc.com>
    Subject: RE: MWK v. Jowers et al - Protective Order



    Ray,


    Is this the version from the Western District’s website? If so, have there been any changes to that
    version?




    James C. Bookhout
    Associate


    T +1 214.743.4549
    E james.bookhout@dlapiper.com
https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1626192260378297881%7Cmsg-f%3A16261983417190…                              3/5



Exhibit 1 to REK Decl. July 4, 2020
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                                   UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION



      MWK RECRUITING INC.,

                            Plaintiff                       Civil Action No.: 1:18-cv-00444-RP


                            v.                                 JURY TRIAL DEMANDED


      EVAN P. JOWERS,
      YULIYA VINOKUROVA,
      ALEJANDRO VARGAS, AND
      LEGIS VENTURES (HK)
      COMPANY LIMITED,

                            Defendants


                         CONFIDENTIALITY AND PROTECTIVE ORDER

            Before the court is the joint motion of the parties for the entry of a confidentiality and

     protective order (“Protective Order”). After careful consideration, it is hereby ORDERED as

     follows:

            1.      Classified Information

            “Classified Information” means any information of any type, kind, or character that is

     designated as “Confidential”, “For Counsel Only”, or “Attorneys Eyes Only” by any of the

     supplying or receiving persons, whether it be a document, information contained in a document,

     information revealed during a deposition, information revealed in an interrogatory answer, or

     otherwise.

            2.      Qualified Persons

            “Qualified Persons” means:




Exhibit 1 to REK Decl. July 4, 2020
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            a.    For Counsel or Attorneys Only information:

                  i.     retained counsel for the parties in this litigation and their respective staff;

                  ii.    actual or potential independent experts or consultants (and their
                         administrative or clerical staff) engaged in connection with this litigation
                         (which shall not include the current employees, officers, members, or
                         agents of parties or affiliates of parties) who, prior to any disclosure of
                         Classified Information to such person, have signed a document agreeing to
                         be bound by the terms of this Protective Order (such signed document to be
                         maintained by the attorney retaining such person) and have been designated
                         in writing by notice to all counsel;

                  iii.   this court and its staff and any other tribunal or dispute resolution officer
                         duly appointed or assigned in connection with this litigation.

            b.    For Confidential information:

                  i.     the persons identified in subparagraph 2(a);

                  iv.    the party, if a natural person;

                  v.     if the party is an entity, such officers or employees of the party who are
                         actively involved in the prosecution or defense of this case who, prior to
                         any disclosure of Confidential information to such person, have been
                         designated in writing by notice to all counsel and have signed a document
                         agreeing to be bound by the terms of this Protective Order (such signed
                         document to be maintained by the attorney designating such person);

                  vi.    litigation vendors, court reporters, and other litigation support personnel;

                  vii.   any person who was an author, addressee, or intended or authorized
                         recipient of the Confidential information and who agrees to keep the
                         information confidential, provided that such persons may see and use the
                         Confidential information but not retain a copy.

            c.    Such other person as this court may designate after notice and an opportunity to

     be heard.

            3.    Designation Criteria

            a.    Nonclassified Information. Classified Information shall not include information


     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                  2




Exhibit 1 to REK Decl. July 4, 2020
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     that either:

                      i.      is in the public domain at the time of disclosure, as evidenced by a written
                              document;

                      viii.   becomes part of the public domain through no fault of the recipient, as
                              evidenced by a written document;

                      ix.     the receiving party can show by written document was in its rightful and
                              lawful possession at the time of disclosure; or

                      x.      lawfully comes into the recipient’s possession subsequent to the time of
                              disclosure from another source without restriction as to disclosure,
                              provided such third party has the right to make the disclosure to the
                              receiving party.

               b.     Classified Information. A party shall designate as Classified Information only

     such information that the party in good faith believes in fact is confidential. Information that is

     generally available to the public, such as public filings, catalogues, advertising materials, and the

     like, shall not be designated as Classified.

               Information and documents that may be designated as Classified Information include, but

     are not limited to, trade secrets, confidential or proprietary financial information, operational

     data, business plans, and competitive analyses, personnel files, personal information that is

     protected by law, and other sensitive information that, if not restricted as set forth in this order,

     may subject the producing or disclosing person to competitive or financial injury or potential

     legal liability to third parties.

               Correspondence and other communications between the parties or with nonparties may

     be designated as Classified Information if the communication was made with the understanding

     or reasonable expectation that the information would not become generally available to the

     public.

               c.     For Counsel or Attorneys Only. The designation “For Counsel Only” or


     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                3




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     “Attorneys Eyes Only” shall be reserved for information that is believed to be unknown to the

     opposing party or parties, or any of the employees of a corporate party. For purposes of this

     order, so-designated information includes, but is not limited to, product formula information,

     design    information,   non-public    financial   information,   pricing   information,   customer

     identification data, and certain study methodologies.

              d.     Ultrasensitive Information. At this point, the parties do not anticipate the need for

     higher levels of confidentiality as to ultrasensitive documents or information. However, in the

     event that a court orders that ultrasensitive documents or information be produced, the parties

     will negotiate and ask the court to enter an ultrasensitive information protocol in advance of

     production to further protect such information.

              4.     Use of Classified Information

              All Classified Information provided by any party or nonparty in the course of this

     litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation

     and for no other purpose and shall not be disclosed except in accordance with the terms hereof.

              5.     Marking of Documents

              Documents provided in this litigation may be designated by the producing person or by

     any party as Classified Information by marking each page of the documents so designated with a

     stamp indicating that the information is “Confidential”, “For Counsel Only”, or “Attorneys Eyes

     Only”. In lieu of marking the original of a document, if the original is not provided, the

     designating party may mark the copies that are provided. Originals shall be preserved for

     inspection.

              6.     Disclosure at Depositions




     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                4




Exhibit 1 to REK Decl. July 4, 2020
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              Information disclosed at (a) the deposition of a party or one of its present or former

     officers, directors, employees, agents, consultants, representatives, or independent experts

     retained by counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be

     designated by any party as Classified Information by indicating on the record at the deposition

     that the testimony is “Confidential” or “For Counsel Only” and is subject to the provisions of this

     Order.

              Any party also may designate information disclosed at a deposition as Classified

     Information by notifying all parties in writing not later than 30 days of receipt of the transcript of

     the specific pages and lines of the transcript that should be treated as Classified Information

     thereafter. Each party shall attach a copy of each such written notice to the face of the transcript

     and each copy thereof in that party’s possession, custody, or control. All deposition transcripts

     shall be treated as For Counsel Only for a period of 30 days after initial receipt of the transcript.

              To the extent possible, the court reporter shall segregate into separate transcripts information

     designated as Classified Information with blank, consecutively numbered pages being provided in a

     non-designated main transcript. The separate transcript containing Classified Information shall have

     page numbers that correspond to the blank pages in the main transcript.

              Counsel for a party or a nonparty witness shall have the right to exclude from depositions any

     person who is not authorized to receive Classified Information pursuant to this Protective Order, but

     such right of exclusion shall be applicable only during periods of examination or testimony during

     which Classified Information is being used or discussed.

              7.      Disclosure to Qualified Persons

              a.      To Whom. Classified Information shall not be disclosed or made available by the

     receiving party to persons other than Qualified Persons except as necessary to comply with

     applicable law or the valid order of a court of competent jurisdiction; provided, however, that in

     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                    5




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     the event of a disclosure compelled by law or court order, the receiving party will so notify the

     producing party as promptly as practicable (if at all possible, prior to making such disclosure)

     and shall seek a protective order or confidential treatment of such information. Information

     designated as For Counsel Only shall be restricted in circulation to Qualified Persons described

     in subparagraph 2(a).

             b.      Retention of Copies During this Litigation. Copies of For Counsel Only

     information shall be maintained only in the offices of outside counsel for the receiving party and,

     to the extent supplied to experts described in subparagraph 2(a)(ii), in the offices of those

     experts. Any documents produced in this litigation, regardless of classification, that are provided

     to Qualified Persons shall be maintained only at the office of such Qualified Person and only

     necessary working copies of any such documents shall be made. Copies of documents and

     exhibits containing Classified Information may be prepared by independent copy services,

     printers, or illustrators for the purpose of this litigation.

             c.      Each party’s outside counsel shall maintain a log of all copies of For Counsel

     Only documents that are delivered to Qualified Persons.

             8.      Unintentional Disclosures

             Documents unintentionally produced without designation as Classified Information later

     may be designated and shall be treated as Classified Information from the date written notice of

     the designation is provided to the receiving party.

             If a receiving party learns of any unauthorized disclosure of Confidential information or

     For Counsel Only information, the party shall immediately upon learning of such disclosure

     inform the producing party of all pertinent facts relating to such disclosure and shall make all




     CONFIDENTIALITY AND PROTECTIVE ORDER                                                              6




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     reasonable efforts to prevent disclosure by each unauthorized person who received such

     information.

            9.      Documents Produced for Inspection Prior to Designation

            In the event documents are produced for inspection prior to designation, the documents

     shall be treated as For Counsel Only during inspection. At the time of copying for the receiving

     parties, Classified Information shall be marked prominently “Confidential”, “For Counsel Only”,

     or “Attorneys Eyes Only” by the producing party.

            10.     Consent to Disclosure and Use in Examination

            Nothing in this order shall prevent disclosure beyond the terms of this order if each party

     designating the information as Classified Information consents to such disclosure or if the court,

     after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything in

     this order prevent any counsel of record from utilizing Classified Information in the examination

     or cross-examination of any person who is indicated on the document as being an author, source,

     or recipient of the Classified Information, irrespective of which party produced such information.

            11.     Challenging the Designation

            a.      Classified Information. A party shall not be obligated to challenge the propriety of

     a designation of Classified Information at the time such designation is made, and a failure to do

     so shall not preclude a subsequent challenge to the designation. In the event that any party to this

     litigation disagrees at any stage of these proceedings with the designation of any information as

     Classified Information, the parties shall first try to resolve the dispute in good faith on an informal

     basis, such as by production of redacted copies. If the dispute cannot be resolved, the objecting party

     may invoke this Protective Order by objecting in writing to the party who designated the document

     or information as Classified Information. The designating party shall then have 14 days to move the

     court for an order preserving the designated status of the disputed information. The disputed

     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                  7




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     information shall remain Classified Information unless and until the court orders otherwise. Failure

     to move for an order shall constitute a termination of the status of such item as Classified

     Information.

            b.      Qualified Persons. In the event that any party in good faith disagrees with the

     designation of a person as a Qualified Person or the disclosure of particular Classified

     Information to such person, the parties shall first try to resolve the dispute in good faith on an

     informal basis. If the dispute cannot be resolved, the objecting party shall have 14 days from the

     date of the designation or, in the event particular Classified Information is requested subsequent

     to the designation of the Qualified Person, 14 days from service of the request to move the court

     for an order denying the disposed disputed person (a) status as a Qualified Person, or (b) access

     to particular Classified Information. The objecting person shall have the burden of demonstrating

     that disclosure to the disputed person would expose the objecting party to the risk of serious

     harm. Upon the timely filing of such a motion, no disclosure of Classified Information shall be

     made to the disputed person unless and until the court enters an order preserving the designation.

            12.     Manner of Use in Proceedings

            In the event a party wishes to use any Classified Information in affidavits, declarations,

     briefs, memoranda of law, or other papers filed in this litigation, the party shall do one of the

     following: (1) with the consent of the producing party, file only a redacted copy of the

     information; (2) where appropriate (e.g., in connection with discovery and evidentiary motions)

     provide the information solely for in camera review; or (3) file such information under seal with

     the court consistent with the sealing requirements of the court.

            13.     Filing Under Seal

            The clerk of this court is directed to maintain under seal all documents, transcripts of

     deposition testimony, answers to interrogatories, admissions, and other papers filed under seal in

     CONFIDENTIALITY AND PROTECTIVE ORDER                                                               8




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     this litigation that have been designated, in whole or in part, as Classified Information by any

     party to this litigation consistent with the sealing requirements of the court.

              14.    Return of Documents

              Not later than 120 days after conclusion of this litigation and any appeal related to it, any

     Classified Information, all reproductions of such information, and any notes, summaries, or

     descriptions of such information in the possession of any of the persons specified in paragraph 2

     (except subparagraph 2(a)(iii)) shall be returned to the producing party or destroyed, except as

     this court may otherwise order or to the extent such information has been used as evidence at any

     trial or hearing. Notwithstanding this obligation to return or destroy information, counsel may

     retain attorney work product, including document indices, so long as that work product does not

     duplicate verbatim substantial portions of the text of any Classified Information.

              15.    Ongoing Obligations

              Insofar as the provisions of this Protective Order, or any other protective orders entered

     in this litigation, restrict the communication and use of the information protected by it, such

     provisions shall continue to be binding after the conclusion of this litigation, except that (a) there

     shall be no restriction on documents that are used as exhibits in open court unless such exhibits

     were filed under seal, and (b) a party may seek the written permission of the producing party or

     order of the court with respect to dissolution or modification of this, or any other, protective

     order.

              16.    Advice to Clients

              This order shall not bar any attorney in the course of rendering advice to such attorney’s

     client with respect to this litigation from conveying to any party client the attorney’s evaluation

     in a general way of Classified Information produced or exchanged under the terms of this order;



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     provided, however, that in rendering such advice and otherwise communicating with the client,

     the attorney shall not disclose the specific contents of any Classified Information produced by

     another party if such disclosure would be contrary to the terms of this Protective Order.

            17.     Duty to Ensure Compliance

            Any party designating any person as a Qualified Person shall have the duty to reasonably

     ensure that such person observes the terms of this Protective Order and shall be responsible upon

     breach of such duty for the failure of such person to observe the terms of this Protective Order.

            18.     Waiver

            Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor work

     product protection is waived by disclosure connected with this litigation.

            19.     Modification and Exceptions

            The parties may, by stipulation, provide for exceptions to this order and any party may

     seek an order of this court modifying this Protective Order.




     CONFIDENTIALITY AND PROTECTIVE ORDER                                                                10




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6/27/2020       Kinney Recruiting, Inc. Mail - RE: MWK Recruiting, Inc. v. Jowers -- Follow up regarding trade secrets/confidential information interrogato…



                                                                                            Robert Kinney <robert@kinneyrecruiting.com>



  RE: MWK Recruiting, Inc. v. Jowers -- Follow up regarding trade secrets/confidential
  information interrogatories and requests for production
  1 message

  Bookhout, James <james.bookhout@dlapiper.com>                                            Thu, May 14, 2020 at 1:51 PM
  To: Tristan Loanzon <tristan@loanzon.com>
  Cc: "Bernardo, Micala" <micala.bernardo@dlapiper.com>, Robert Kinney <robert@kinneyrecruiting.com>,
  "raymort@austinlaw.com" <raymort@austinlaw.com>, "Katz, Marc" <marc.katz@dlapiper.com>, Robert Tauler
  <rtauler@taulersmith.com>


    Tristan:


    Thank you for your email. As a further follow up to our second telephone conference on May 11,
    we wanted to address the points raised in your email below and summarize the additional
    discovery matters we discussed during the conference.


    (1) Identification of trade secrets. Thank you for confirming that the MWK will supplement its
    interrogatory responses by May 18 and identify the trade secrets/confidential information that it
    contends Jowers misappropriated or used in violation of a restrictive covenant and/or that it
    believes support the non-solicitation covenant in the Jowers Employment Agreement. As we have
    relayed during our telephonic conferences on May 6 and May 11, we have been frustrated by
    MWK’s continued unwillingness thus far to identify its trade secrets/confidential information in any
    way despite our repeated efforts. To be clear, MWK is required to specifically identify all trade
    secrets/confidential information it contends that Jowers misappropriated (not just by categories) or
    that that Mr. Jowers allegedly used in breach of any agreement; however, given that you have so
    far refused to provide any description of the alleged trade secrets/confidential information at issue,
    this should at least be a step toward resolution of this issue.


    (2) Modification of protective order. As discussed during our telephonic conference, we want to
    clarify that the Protective Order in place in this case prohibits the disclosure of information marked
    as “Attorneys’ Eyes Only” to persons who are not outside counsel for a party. Given the use of the
    phrase “outside counsel” in several locations in the existing order in direct reference to materials
    marked as AEO, it is our position that the intent of the current language is to limit disclosure of
    AEO-designated information to true outside counsel only and that the current language of the order
    prevents Robert from reviewing materials marked as AEO. However, you have indicated that you
    do not agree with our interpretation. As discussed, this is an important issue because the attorney
    candidates have a reasonable belief that their personal information will not be disclosed to other
    persons and that it will be kept confidential. Therefore, we would like to amend the Protective
    Order to clarify this by adding a limited “Outside attorneys’ eyes only” designation for a small
    subset of documents containing attorney candidates’ confidential information that they had a
    reasonable expectation would not be disclosed to third parties except for recruiting purposes.
    Attached please find a clean and red-lined copy of the proposed amended protective order
    showing the requested modifications to the existing protective order for your review and
    consideration. As you will see, the information that may be designated as “Outside attorneys’ eyes

https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1666142056461679219%7Cmsg-f%3A16666930098606…                      1/8



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    only” information is fairly narrow, so we hope that this can be easily agreed to. Please confirm if
    you will agree to these proposed clarifications.


    (3) RFP 65 – Documents concerning other employees’ restrictive covenants. As we
    discussed during our telephonic conference, the documents requested in RFP 65 are relevant to
    whether or not MWK actually has a legitimate, protectable business interest that could support the
    restrictive covenants MWK is seeking to enforce against Mr. Jowers. As you know, the Florida
    statute, which you allege applies to these covenants, requires the plaintiff to “plead and prove the
    existence of one or more legitimate business interests justifying the restrictive covenant.” Fla. Ann.
    Stat. § 542.335(1)(b). If the MWK entities enter into different types of agreements with different
    employees or enforces these types of restrictions inconsistently, that would be relevant to whether
    or not a protectible business interest exists. See, e.g., Star Direct Inc. v. Dal Pra, 767 N.W. 2d 898
    (Wis. 2009); Hydroaire, Inc. v. Sager, 98 Ill. App. 3d 758 (Ill. App. 1981). Differences between
    versions of the restrictive covenants are also relevant to the extent that the covered matters vary
    between documents (e.g., the definition of “confidential information,” etc.), because they go to
    whether the covenants in this case are reasonably necessary to protect any purported interest
    supporting them and whether their scope is reasonable.


    (4) RFPs 13, 14, 15, and 16 – Requests for original digital files of assignment documents.
    During our telephonic conference, Robert stated that he could not find the original word files for the
    assignment documents requested in RFPs 13, 14, 15, and 16 because these documents were
    created years ago. Robert additionally stated that he conducted a good faith search for these
    records but had not been able to locate them. Please confirm this accurately states your position
    with respect to these documents.


    (5) RFP 66-68 – Documents relating to Kinney’s placements in Asia – During our
    teleconference, Robert questioned the relevance of the documents requested in these RFPs, and,
    during the teleconference and in your email below, you appear to argue that these documents are
    irrelevant pursuant to the Florida statute. As previously mentioned, we do not agree that the
    Florida statute applies. However, even if it did, the case law clearly supports Jowers’ position that
    these documents are relevant to show whether MWK has a legitimate, protectible business interest
    in the Asia market. In addition to requiring that the plaintiff “plead and prove the existence of one or
    more legitimate business interests justifying the restrictive covenant,” the Florida statute is explicit
    that the plaintiff must “plead and prove that the contractually specified restraint is reasonably
    necessary to protect the legitimate business interest or interests justifying the restriction.” Fla. Stat.
    Ann. § 542.335(1)(b), (1)(c). Whether or not MWK placed candidates in Asia during the requested
    time periods, including before Jowers joined MWK and since Jowers left MWK, is clearly relevant
    to both (a) whether MWK has a legitimate protectible business interest in the Asia market and (b)
    whether the restrictive covenants are reasonably necessary to protect those interests. Case law in
    several jurisdictions supports the argument that a covenant may not be enforced when the
    business interest that is sought to be protected by the covenant has been abandoned by the
    covenantee. See, e.g., Premier Health Care Services, Inc. v. Schneiderman, 2001 WL
    1658167 (Ohio Ct. App. 2d Dist. Montgomery County 2001); Peachtree Fayette Women’s
    Specialists, LLC v. Turner, 699 S.E.2d 69 (Ga. 2010); In re Bob Nicholas Enterprise, Inc., 358 B.R.
    693 (Bankr. S.D. Tex. 2007). The Florida statute you cite in your email additionally expressly
    contemplates the relevance of such documents. Please confirm whether any placements were
    made in Asia during the time periods referenced in Request Nos. 66–68; if any such placements
    were made, please also confirm whether you are refusing to produce documents associated with
    those placements. If you are refusing to produce documents, would you be willing to stipulate that
    placements in Asia are outside the relevant scope of discovery in this case?
https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1666142056461679219%7Cmsg-f%3A16666930098606…                      2/8



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    (6) RFP 69-84, ROGs 21-22 – Documents related to Civil RICO and veil piercing claims –
    During our telephonic conference, Robert stated that MWK and the counter-defendants intend to
    stand on their objections to these requests and interrogatories and would not consider producing
    documents and/or responding to interrogatories even if Jowers agreed to narrow the
    requests/interrogatories.


    Please let us know if you believe anything stated herein does not accurately characterize your
    position and/or if you would like to discuss any of them further. We would be happy to have an
    additional conference with you.


    Very truly yours,


    James




    James C. Bookhout
    Associate


    T +1 214.743.4549
    E james.bookhout@dlapiper.com




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    Dallas, Texas 75201
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    www.dlapiper.com




    From: Tristan Loanzon <tristan@loanzon.com>
    Sent: Monday, May 11, 2020 7:37 PM
    To: Bookhout, James <James.Bookhout@us.dlapiper.com>
    Cc: Bernardo, Micala <Micala.Bernardo@us.dlapiper.com>; Robert Kinney <robert@kinneyrecruiting.com>;
    raymort@austinlaw.com; Katz, Marc <marc.katz@us.dlapiper.com>
    Subject: Re: MWK Recruiting, Inc. v. Jowers -- Follow up regarding trade secrets/confidential information interrogatories
    and requests for production



    [EXTERNAL]

https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1666142056461679219%7Cmsg-f%3A16666930098606…                       3/8



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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

    MWK RECRUITING, INC.

                   Plaintiff,
                                                          Civil Action No. 1:18-cv-00444
           v.
    EVAN P. JOWERS, YULIYA
    VINOKUROVA, ALEJANDRO VARGAS,
    and LEGIS VENTURES (HK) COMPANY
    LIMITED (aka Jowers / Vargas),
                   Defendants.


    EVAN P. JOWERS

                   Counterclaimant,

           v.

    MWK RECRUITING, INC., ROBERT E.
    KINNEY, MICHELLE W. KINNEY,
    RECRUITING PARTNERS GP, INC.,
    KINNEY RECRUITING LLC, COUNSEL
    UNLIMITED LLC, and KINNEY
    RECRUITING LIMITED

                   Counter-defendants.


                   AMENDED CONFIDENTIALITY AND PROTECTIVE ORDER

            Before the court is the joint motion of the parties for the entry of aan amended

     confidentiality and protective order (“Protective Order”). After careful consideration, it is hereby

     ORDERED as follows:

            1. Classified Information

            “Classified Information” means any information of any type, kind, or character that is

     designated as “Confidential”,; “For Counsel Only”, or “Attorneys Eyes Only”; or “Outside


                                                      1




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     Attorneys Eyes Only” by any of the supplying or receiving persons, whether it be a document,

     information contained in a document, information revealed during a deposition, information

     revealed in an interrogatory answer, or otherwise.

            2. Qualified Persons

            “Qualified Persons” means:

            a.        For Outside Attorneys Eyes Only information:
                 i.      Outside retained counsel for a party. With respect to MWK Recruiting, Inc.
                         and the counter-defendants represented by the same counsel, this means
                         outside retained counsel (i.e. Ray Mort) and their staff having no business or
                         familial connection to those entities, their affiliates, or any of their employees;
                 ii.     actual or potential independent experts or consultants (and their administrative
                         or clerical staff) engaged in connection with this litigation (which shall not
                         include the current employees, officers, members, or agents of parties or
                         affiliates of parties) who, prior to any disclosure of Classified Information to
                         such person, have signed a document agreeing to be bound by the terms of
                         this Protective Order (such signed document to be maintained by the attorney
                         retaining such person) and have been designated in writing by notice to all
                         counsel;
                 iii.    this court and its staff and any other tribunal or dispute resolution officer duly
                         appointed or assigned in connection with this litigation.

            b.        a. For Counsel or Attorneys Eyes Only information:
                        i.    retained counsel for the parties in this litigation and their respective staff;
                        ii.   actual or potential independent experts or consultants (and their
                              administrative or clerical staff) engaged in connection with this litigation
                              (which shall not include the current employees, officers, members, or
                              agents of parties or affiliates of parties) who, prior to any disclosure of
                              Classified Information to such person, have signed a document agreeing
                              to be bound by the terms of this Protective Order (such signed document
                              to be maintained by the attorney retaining such person) and have been
                              designated in writing by notice to all counsel;
                        iii.  this court and its staff and any other tribunal or dispute resolution officer
                              duly appointed or assigned in connection with this litigation.

            c.        b. For Confidential information:
                      i. the persons identified in subparagraph 2(a);
                      ii. the party, if a natural person;

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                    iii. if the party is an entity, such officers or employees of the party who are
                         actively involved in the prosecution or defense of this case who, prior to any
                         disclosure of Confidential information to such person, have been designated in
                         writing by notice to all counsel and have signed a document agreeing to be
                         bound by the terms of this Protective Order (such signed document to be
                         maintained by the attorney designating such person);
                    iv. litigation vendors, court reporters, and other litigation support personnel;
                    v. any person who was an author, addressee, or intended or authorized recipient
                         of the Confidential information and who agrees to keep the information
                         confidential, provided that such persons may see and use the Confidential
                         information but not retain a copy.

             iv.    ii. Such other persons as this court may designate after notice and an opportunity

     to be heard.

             3. Designation Criteria

              a.    Nonclassified Information. Classified Information shall not include information
     that either:
                      i.      is in the public domain at the time of disclosure, as evidenced by a
                              written document;
                      ii.     becomes part of the public domain through no fault of the recipient, as
                              evidenced bv a written document;
                      iii.    the receiving party can show by written document was in its rightful and
                              lawful possession at the time of disclosure; or
                      iv.     lawfully comes into the recipient’s possession subsequent to the time of
                              disclosure from another source without restriction as to disclosure,
                              provided such third party has the right to make the disclosure to the
                              receiving party.

             b.     Classified Information. A party shall designate as Classified Information only

     such information that the party in good faith believes in fact is confidential. Information that is

     generally available to the public, such as public filings, catalogues, advertising materials, and the

     like, shall not be designated as Classified.

             Information and documents that may be designated as Classified Information include, but

     are not limited to, trade secrets, confidential or proprietary financial information, operational


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     data, business plans, and competitive analyses, personnel files, personal information that is

     protected by law, and other sensitive information that, if not restricted as set forth in this order,

     may subject the producing or disclosing person to competitive or financial injury or potential

     legal liability to third parties.

               Correspondence and other communications between the parties or with nonparties may

     be designated as Classified Information if the communication was made with the understanding

     or reasonable expectation that the information would not become generally available to the

     public.

               c.     For Counsel or Attorneys Only. The designation “For Counsel Only” or

     “Attorneys Eyes Only” shall be reserved for information that is believed to be unknown to the

     opposing party or parties, or any of the employees of a corporate party. For purposes of this

     order, so-designated information includes, but is not limited to, product formula information,

     design     information,    non-public   financial   information,   pricing   information,   customer

     identification data, and certain study methodologies.

               d. Ultrasensitive Information. At this point, the parties do not anticipate the need for

     higher levels of confidentiality as to ultrasensitive documents or information. However, in the

     event that a court orders that ultrasensitive documents or information be produced, the parties

     will negotiate and ask the court to enter an ultrasensitive information protocol in advance of

     production to further protect such information.

               a.     Outside Attorneys Eyes Only Information. The designation “Outside Attorneys

     Eyes Only” shall be reserved for information that is believed to be unknown to the opposing

     parties and is ultrasensitive to third parties such that disclosure to a competing entity would be

     detrimental to such third parties. For the purposes of this order, so-designated information is



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     limited to include confidential information provided by third parties to Jowers with the

     reasonable expectation that Jowers would not disclose such information except for the purpose of

     recruiting activities.

              4. Use of Classified Information

              All Classified Information provided by any party or nonparty in the course of this

     litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation

     and for no other purpose, and shall not be disclosed except in accordance with the terms hereof.

              5. Marking of Documents

              Documents provided in this litigation may be designated by the producing person or by

     any party as Classified Information by marking each page of the documents so designated with a

     stamp indicating that the information is “Confidential”,; “For Counsel Only”, or “Attorneys Eyes

     Only”.; or “Outside Attorneys’ Eyes Only.” In lieu of marking the original of a document, if the

     original is not provided, the designating party may mark the copies that are provided. Originals

     shall be preserved for inspection.

              6. Disclosure at Depositions

              Information disclosed at (a) the deposition of a party or one of its present or former

     officers, directors, employees, agents, consultants, representatives, or independent experts

     retained by counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be

     designated by any party as Classified Information by indicating on the record at the deposition

     that the testimony is “Confidential” or “For Counsel Only” and is subject to the provisions of this

     Order.

              Any party also may designate information disclosed at a deposition as Classified

     Information by notifying all parties in writing not later than 30 days of receipt of the transcript of



                                                       5




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     the specific pages and lines of the transcript that should be treated as Classified Information

     thereafter. Each party shall attach a copy of each such written notice to the face of the transcript

     and each copy thereof in that party’s possession, custody, or control. All deposition transcripts

     shall be treated as For Counsel Only for a period of 30 days after initial receipt of the transcript.

            To the extent possible, the court reporter shall segregate into separate transcripts

     information designated as Classified Information with blank, consecutively numbered pages

     being provided in a nondesignated main transcript. The separate transcript containing Classified

     Information shall have page numbers that correspond to the blank pages in the main transcript.

            Counsel for a party or a nonparty witness shall have the right to exclude from depositions

     any person who is not authorized to receive Classified Information pursuant to this Protective

     Order, but such right of exclusion shall be applicable only during periods of examination or

     testimony during which Classified Information is being used or discussed.

            7. Disclosure to Qualified Persons

            a.      To Whom. Classified Information shall not be disclosed or made available by the

     receiving party to persons other than Qualified Persons except as necessary to comply with

     applicable law or the valid order of a court of competent jurisdiction; provided, however, that in

     the event of a disclosure compelled by law or court order, the receiving party will so notify the

     producing party as promptly as practicable (if at all possible, prior to making such disclosure)

     and shall seek a protective order or confidential treatment of such information. Information

     designated as For Counsel Only or Outside Attorneys’ Eyes Only shall be restricted in

     circulation to Qualified Persons described in subparagraphsubparagraphs 2(a) and (b).

            b.      Retention of Copies During this Litigation. Copies of For Counsel Only/Attorneys

     Eyes Only or Outside Attorneys’ Eyes Only



                                                       6




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     information shall be maintained only in the offices of outside counsel for the receiving party and,

     to the extent supplied to experts described in subparagraphsubparagraphs 2(a)(ii) or 2(b)(ii), in

     the offices of those experts. Any documents produced in this litigation, regardless of

     classification, that are provided to Qualified Persons shall be maintained only at the office of

     such Qualified Person and only necessary working copies of any such documents shall be made.

     Copies of documents and exhibits containing Classified Information may be prepared by

     independent copy services, printers, or illustrators for the purpose of this litigation.

            c.      Each party’s outside counsel shall maintain a log of all copies of For Counsel

     Only/Attorneys Eyes Only or Outside Attorneys’ Eyes Only documents that are delivered to

     Qualified Persons.

             8. Unintentional Disclosures

             Documents unintentionally produced without designation as Classified Information later

     may be designated and shall be treated as Classified Information from the date written notice of

     the designation is provided to the receiving party.

             If a receiving party learns of any unauthorized disclosure of Confidential information or,

     For Counsel Only, or Outside Attorneys’ Eyes Only information, the party shall immediately

     upon learning of such disclosure inform the producing party of all pertinent facts relating to such

     disclosure and shall make all reasonable efforts to prevent disclosure by each unauthorized

     person who received such information.

             9. Documents Produced for Inspection Prior to Designation

             In the event documents are produced for inspection prior to designation, the documents

     shall be treated as For Counsel Only during inspection. At the time of copying for the receiving

     parties, Classified Information shall be marked prominently “Confidential”, “For Counsel Only”,



                                                        7




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     or “Attorneys Eyes Only” by the producing party.

            10. Consent to Disclosure and Use in Examination

            Nothing in this order shall prevent disclosure beyond the terms of this order if each party

     designating the information as Classified Information consents to such disclosure or if the court,

     after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything in

     this order prevent any counsel of record from utilizing Classified Information in the examination

     or cross-examination of any person who is indicated on the document as being an author, source,

     or recipient of the Classified Information, irrespective of which party produced such information.

            11. Challenging the Designation

            a.      Classified Information. A party shall not be obligated to challenge the propriety of

     a designation of Classified Information at the time such designation is made, and a failure to do

     so shall not preclude a subsequent challenge to the designation. In the event that any party to this

     litigation disagrees at any stage of these proceedings with the designation of any information as

     Classified Information, the parties shall first try to resolve the dispute in good faith on an

     informal basis, such as by production of redacted copies. If the dispute cannot be resolved, the

     objecting party may invoke this Protective Order by objecting in writing to the party who

     designated the document or information as Classified Information. The designating party shall

     then have 14 days to move the court for an order preserving the designated status of the disputed

     information. The disputed information shall remain Classified Information unless and until the

     court orders otherwise. Failure to move for an order shall constitute a termination of the status of

     such item as Classified Information.

            b.      Qualified Persons. In the event that any party in good faith disagrees with the

     designation of a person as a Qualified Person or the disclosure of particular Classified



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     Information to such person, the parties shall first try to resolve the dispute in good faith on an

     informal basis. If the dispute cannot be resolved, the objecting party shall have 14 days from the

     date of the designation or, in the event particular Classified Information is requested subsequent

     to the designation of the Qualified Person, 14 days from service of the request to move the court

     for an order denying the disposed person (a) status as a Qualified Person, or (b) access to

     particular Classified Information. The objecting person shall have the burden of demonstrating

     that disclosure to the disputed person would expose the objecting party to the risk of serious

     harm. Upon the timely filing of such a motion, no disclosure of Classified Information shall be

     made to the disputed person unless and until the court enters an order preserving the designation.

            12. Manner of Use in Proceedings

            In the event a party wishes to use any Classified Information in affidavits, declarations,

     briefs, memoranda of law, or other papers filed in this litigation, the party shall do one of the

     following: (1) with the consent of the producing party, file only a redacted copy of the

     information; (2) where appropriate (e.g., in connection with discovery and evidentiary motions)

     provide the information solely for in camera review; or (3) file such information under seal with

     the court consistent with the sealing requirements of the court.

            13. Filing Under Seal

            The clerk of this court is directed to maintain under seal all documents, transcripts of

     deposition testimony, answers to interrogatories, admissions, and other papers filed under seal in

     this litigation that have been designated, in whole or in part, as Classified Information by any

     party to this litigation consistent with the sealing requirements of the court.

            14. Return of Documents

            Not later than 120 days after conclusion of this litigation and any appeal related to it, any



                                                       9




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     Classified Information, all reproductions of such information, and any notes, summaries, or

     descriptions of such information in the possession of any of the persons specified in paragraph 2

     (except subparagraph 2(a)(iii)) shall be returned to the producing party or destroyed, except as

     this court may otherwise order or to the extent such information has been used as evidence at any

     trial or hearing. Notwithstanding this obligation to return or destroy information, counsel may

     retain attorney work product, including document indices, so long as that work product does not

     duplicate verbatim substantial portions of the text of any Classified Information.

              15. Ongoing Obligations

              Insofar as the provisions of this Protective Order, or any other protective orders entered

     in this litigation, restrict the communication and use of the information protected by it, such

     provisions shall continue to be binding after the conclusion of this litigation, except that (a) there

     shall be no restriction on documents that are used as exhibits in open court unless such exhibits

     were filed under seal, and (b) a party may seek the written permission of the producing party or

     order of the court with respect to dissolution or modification of this, or any other, protective

     order.

              16. Advice to Clients

              This order shall not bar any attorney in the course of rendering advice to such attorney’s

     client with respect to this litigation from conveying to any party client the attorney’s evaluation

     in a general way of Classified Information produced or exchanged under the terms of this order;

     provided, however, that in rendering such advice and otherwise communicating with the client,

     the attorney shall not disclose the specific contents of any Classified Information produced by

     another party if such disclosure would be contrary to the terms of this Protective Order.

              17. Duty to Ensure Compliance



                                                      10




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            Any party designating any person as a Qualified Person shall have the duty to reasonably

     ensure that such person observes the terms of this Protective Order and shall be responsible upon

     breach of such duty for the failure of such person to observe the terms of this Protective Order.

            18. Waiver

            Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor work

     product protection is waived by disclosure connected with this litigation.

            19. Modification and Exceptions

            The parties may, by stipulation, provide for exceptions to this order and any party may

     seek an order of this court modifying this Protective Order.



            It is SO ORDERED this _______ day of _____________________, 20_____




                                                      _______________________________

                                                      UNITED STATES DISTRICT JUDGE




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                                      Summary report:
           Litera® Change-Pro for Word 10.8.2.11 Document comparison done on
                                    5/14/2020 1:46:24 PM
         Style name: DLAPiper
         Intelligent Table Comparison: Active
         Original DMS: iw://USDMS.PIPER.ROOT.LOCAL/WEST/290481984/1
         Modified DMS: iw://USDMS.PIPER.ROOT.LOCAL/WEST/290481984/2
         Changes:
         Add                                                   30
         Delete                                                15
         Move From                                             0
         Move To                                               0
         Table Insert                                          0
         Table Delete                                          0
         Table moves to                                        0
         Table moves from                                      0
         Embedded Graphics (Visio, ChemDraw, Images etc.)      0
         Embedded Excel                                        0
         Format changes                                        0
         Total Changes:                                        45




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                                                                                                                    Robert Kinney <robert@kinneyrecruiting.com>



Letter Responding to your Emailed Issues May 8-14
1 message

Robert Kinney <robert@kinneyrecruiting.com>                                                                                          Wed, May 20, 2020 at 8:42 PM
To: "Bookhout, James" <james.bookhout@dlapiper.com>
Cc: "Katz, Marc" <Marc.Katz@dlapiper.com>, "Bernardo, Micala" <micala.bernardo@dlapiper.com>, Robert Tauler <rtauler@taulersmith.com>, Ray Mort
<raymort@austinlaw.com>, Tristan Loanzon <tristan@loanzon.com>

 Please see the attached letter.

 Also attached is the verification page for the interrogatory responses.

 Robert E. Kinney, Esq.
 Kinney Recruiting LLC

    Office: +1-512-377-1686
    Cell: +1-512-636-1395
    Toll Free: +1-888-848-5757 x701
    Robert@KinneyRecruiting.com

 www.kinneyrecruiting.com


 __________________________________________________________________________________________
 This communication may be privileged or contain confidential information. If it has been sent to you in
 error, please do not read it, reply to the sender that you received it in error, and delete it. Any distribution
 or other reproduction is strictly prohibited.
 __________________________________________________________________________________________

  2 attachments
      VERIFICATION of Rogs.pdf
      72K
      2020_5_20 - Response Re Discovery Issues Raised May 8-14.pdf
      179K




            Exhibit 3 to REK Decl. July 4, 2020
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promoted despite having had stellar reviews of his work. He may have known that the
candi ate received a special an rare associate bonus for having originated work for the
firm as a         ssociate. On the b       of this knowledge and conversations with the candidate,
Jowers may           ve known t        the candidate would accept a step down in terms of the
prestige of his fir      an        at he might accept a counsel or junior partner role at a new but
lower-ranked firm                s a hypothetical scenario, but is an example of what we believe could
have happen              ith a      umber of placements Jowers made after leaving MWK’s
employme            We think it hig     unlikely that Jowers recorded evidence of all the confidential
inform       n or trade secrets he         d in in his possession our databases prior to leaving, but we
know these placements do not happen without such information. This is a major reason for
your request to modify the protective order, presumabl             which I will respond to bel w in the
next section of this letter.

One reason we have provided you with all the email and chat                  rmatio     om our systems
that Jowers ever sent or received is because evidence of his activit                ay be buried in them.
We are continuing to review the material we produced ourselves                  y     have equal access
to all the documentary evidence we have in our possession re                ding wha       wers knew
about clients and candidates as soon as we iron out the l              echnical issues o     e last
couple of volumes we sent.

So, in       mary, we are unable           promise you that within one week of receiving Jowers’s list
we will sup         ment our inte      gatory responses with further responses identifying all the trade
secrets and c          identia      ormation Jowers used to make those placements, because we
are confident we              ot know or have evidence of at least some of the information he used.
What we will do          ev       the information we have specifically with respect to the candidates
and clients           are iden        d through your production and supplement in a reasonable time
with an       ng we identify tha         relevant to information Jowers had about those candidates
and       ents.

    IV.      Modification of Protective Order

You would like to be able to exclude Robert Kinney from viewing documents marked
“Outside Attorneys Eyes Only” under an amended protective order. You described the
documents you are talking about excluding from his view as a “small subset,” but whether the
“subset” is small is hard to tell from your proposal and, apparently, what is included would be



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entirely up to Jowers’s subjective judgment. The description you gave of the material in your
cover letter says you want to protect “attorney candidates’ confidential information that they
had a reasonable expectation would not be disclosed to third parties except for recruiting
purposes.” This is overbroad because it covers, literally, every single piece of information ever
given by a candidate to his recruiter. Your redline adds some further detail: the designation
would be reserved for “information that is believed to be unknown to the opposing parties
and is ultrasensitive to third parties such that disclosure to a competing entity would be
detrimental to such third parties.” Again, the universe of candidate information covered by
this description covers every resume, submission, interview or placement of every candidate
for all time. The redline further appears to add the requirement that the information have
been provided to “Jowers with the reasonable expectation that Jowers would not disclose” it
“except for the purpose of recruiting activities.” But this does not help limit it. Just because a
candidate’s expectation was reasonable when he expected his materials to remain
confidential does not mean that it should be hidden from your adversary’s lawyer in litigation
just because that lawyer happens to also manage the adversary. It needs to be clear that
allowing Kinney to see the material would jeopardize those candidates in some way and no
other solution would accomplish the goal you have. It is not clear why Kinney cannot be
trusted not to respect his obligation as a licensed attorney not to abuse the information he
obtains which is designated “attorneys’ eyes only” under the current protective order.

You made a technical argument that use of the word “outside” before “counsel” in two of
the twenty-two references to “counsel” in the current protective order indicates that Robert
Kinney was meant to be excluded all along. This is the sort of technical argument we think we
need to avoid putting before the court if possible, but it is up to you. In the cases we are
aware of, courts typically would at least allow one representative within an organization to
see material designated for “outside attorneys’ eyes only.” Courts tend to focus on the
prejudice to a litigant of having no person within a company be permitted to see relevant
evidence. Here, it is not clear who the designated person at the MWK Entities would be other
than Robert Kinney or why Robert, even if he were not an attorney, would not be permitted
to see the materials subject to a stipulation that the materials would not be shared further
within the MWK Entities’ organization or used by them for any purpose other than the
litigation. To refuse to allow even a single witness in an organization to access or view some
documents relevant to a case would be highly unusual. We searched and could find no
example.


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Even though we do not think it is necessary, we would like to avoid the burden on the Court
of a motion about this issue because we should be able to work out a mutually satisfactory
agreement that gets Jowers a fair result and is not unduly prejudicial to MWK. How about if
we agree to a solution that accomplishes the following results: a) information about live
candidates of Jowers, Jowers/Vargas, etc. who have been submitted or have interviewed
within the last 90 days may be designated for “outside attorneys’ eyes only”; and b) the
information so designated will be viewable by outside counsel only until after 90 days have
passed from the date of a candidate’s last interview or the date the person was submitted to
potential employers; and c) after 90 days have passed from the relevant date, the
designation will revert automatically to “Attorneys’ Eyes Only;” and d) Jowers may designate
information regarding candidates who have been submitted, interviewed, or placed since
May 25, 2019 as “Attorneys’ Eyes Only;” and e) Robert Kinney will stipulate that any
information designated “AEO” shall not be shared internally with any other person employed
by any MWK Entity and will not be used by him for recruiting purposes in any way?

We have worked hard to think this through, so please give it due thought and, if you believe
this generally works, provide us a new draft of the amended protective order accomplishing
these objectives and we will review. Otherwise, please let us know what concerns you have
that this proposal does not appear to you to address.

   V.      RFP 65 – Documents Concerning other employees’ restrictive covenants

You have demanded to see employment agreements of all other employees of the MWK
Entities, without regard to which     isdiction’s law governs       agreements or when they were
entered into, because you believe         nting to poten      differences between the agreements
and Jowers’s agreement might allow y              o show   at the MWK Entities did not have
“legitimate business interests justifying the r        ve covenant” in Jowers’s agreement. We
asked that you cite to us any authority yo         a   or the proposition that this evidence might
be relevant under Florida law, specifi        under Fl      tat. § 542.335. In your letter of May 14,
you cited a Wisconsin case, apply        Wisconsin law, w       h concluded that the court was
“untroubled by the fact that no      very salesperson had a        n-compete” agreement and
enforced the agreement at issue. Star Direct, Inc. v. Dal Pra, 319 Wis. 2d 274, 300 (Wis. 2009).
You also cited an Illinois case, applying Illinois law, in which the court held that lack of similar




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                     Case 1:18-cv-00444-RP Document 182-1 Filed 07/06/20 Page 42 of 55


                                                                                                                        Robert Kinney <robert@kinneyrecruiting.com>



Rog Responses and Verification
1 message

Robert Tauler <rtauler@taulersmith.com>                                                                                                Wed, May 27, 2020 at 9:12 PM
To: robert@kinneypc.com, raymort@austinlaw.com, Luca Stein <lstein@taulersmith.com>, "Tristan L." <tristan@loanzon.com>, Valerie Saryan <vsaryan@taulersmith.com>

 Counsel,

 Please see attached supplemental responses to the SROGS. Link to documents should follow within the next hour or so.

 Thank you for your patience and professionalism,

 Robert Tauler, Esq.
 Tauler Smith LLP
 626 Wilshire Blvd., Suite 510
 Los Angeles, CA 90017
 (213) 927-9270
 www.taulersmith.com

  2 attachments
      2020-5-27 Jowers Supplemental Responses to MWK_S First (Revised) Interrogatories.pdf
      126K
      2020-5-27 Verification for Supplemental Response to MWK_s Interrogatories.pdf
      86K




            Exhibit 4 to REK Decl July 4, 2020
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6/27/2020                                            Kinney Recruiting, Inc. Mail - Document Production



                                                                                    Robert Kinney <robert@kinneyrecruiting.com>



  Document Production
  1 message

  Robert Tauler <rtauler@taulersmith.com>                                                   Thu, May 28, 2020 at 1:37 AM
  To: robert@kinneypc.com, raymort@austinlaw.com, Luca Stein <lstein@taulersmith.com>, "Tristan L."
  <tristan@loanzon.com>, Valerie Saryan <vsaryan@taulersmith.com>

    Counsel,

    Today's document production, bates-labeled EJ0000001 – EJ0010178 is available at the following link:



    The password for download is as follows:



    Happy trails,

    Robert Tauler, Esq.
    Tauler Smith LLP
    626 Wilshire Blvd., Suite 510
    Los Angeles, CA 90017
    (213) 927-9270
    www.taulersmith.com




https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1667915289561322610%7Cmsg-f%3A16679152895613…   1/1



     Exhibit 4 to REK Decl July 4, 2020
               Case 1:18-cv-00444-RP Document 182-1 Filed 07/06/20 Page 44 of 55

6/27/2020                                           Kinney Recruiting, Inc. Mail - Re: Document Production



                                                                                     Robert Kinney <robert@kinneyrecruiting.com>



  Re: Document Production
  1 message

  Robert Tauler <rtauler@taulersmith.com>                                                     Mon, Jun 1, 2020 at 9:31 AM
  To: robert@kinneypc.com, raymort@austinlaw.com, Luca Stein <lstein@taulersmith.com>, "Tristan L."
  <tristan@loanzon.com>, Valerie Saryan <vsaryan@taulersmith.com>

    Counsel,

    The second part of our document production is complete. Please download via the following link:




    The password for download is as follows:



    Robert Tauler, Esq.
    Tauler Smith LLP
    626 Wilshire Blvd. Suite 510
    Los Angeles, CA 90017
    www.taulersmith.com


            On May 27, 2020, at 11:37 PM, Robert Tauler <rtauler@taulersmith.com> wrote:



            Counsel,

            Today's document production, bates-labeled EJ0000001 – EJ0010178 is available at the following link:



            The password for download is as follows:



            Happy trails,

            Robert Tauler, Esq.
            Tauler Smith LLP
            626 Wilshire Blvd., Suite 510
            Los Angeles, CA 90017
            (213) 927-9270
            www.taulersmith.com




https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-f%3A1667915289561322610%7Cmsg-f%3A16683073890715…   1/1



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6/27/2020                                      Kinney Recruiting, Inc. Mail - Discovery Gaps - Steve Kang Email



                                                                                     Robert Kinney <robert@kinneyrecruiting.com>



  Discovery Gaps - Steve Kang Email
  Robert Tauler <rtauler@taulersmith.com>                                                Tue, Jun 16, 2020 at 11:56 AM
  To: Robert Kinney <robert@kinneyrecruiting.com>
  Cc: Ray Mort <raymort@austinlaw.com>, Robert Kohn <rkohn@taulersmith.com>, Valerie Saryan
  <vsaryan@taulersmith.com>

    We will be preparing a meet and confer letter regarding this issue, which we expect to have to you within a day. We can
    discuss a potential resolution after you have had the opportunity to review.

    Robert Tauler, Esq.
    Tauler Smith LLP
    626 Wilshire Blvd., Suite 510
    Los Angeles, CA 90017
    (213) 927-9270
    www.taulersmith.com




    On Tue, Jun 16, 2020 4:53 PM, Robert Kinney robert@kinneyrecruiting.com wrote:
     Robert,

      That case you cited has no applicability to our case. The facts here are not even close, not least because the Court
      looked at a motion to disqualify me (Dkt. 100) and denied it (Dkt. 110). Attached is a copy of the protective order in this
      case. I'm not excluded from viewing anything. This was an agreed protective order and there is no special designation
      for excluding me. In denying the request to disqualify me, the Court said: "The MWK entities suggest that Kinney’s
      potential disqualification is a question better left for final pretrial conference, (Id. at 10); the Court agrees." Jowers has
      not asked for any modification to the protective order as an alternative to my disqualification. Obviously, you can do that
      if you want. Let us know your exact proposal and we might be able to negotiate something. But what we are talking
      about here is information from 2016-2017. I do not know how you could even make a colorable claim that information
      about that time period has a potential negative impact on Jowers and I should not be able to see it.

      But that's a separate (and not very important) issue. What is important is that Jowers was under a court order to
      produce certain information by May 25 and is in contempt of that order. Not one of the attorneys on our side has seen
      the documents I was referring to. They clearly exist. We need a date certain within the next week or so when we are
      going to see these documents or will need to meet and confer on a motion for contempt.

      REK

      Robert E. Kinney, Esq.
      Kinney Recruiting LLC

            Office: +1-512-377-1686
            Cell: +1-512-636-1395
            Toll Free: +1-888-848-5757 x701
            Robert@KinneyRecruiting.com

      www.kinneyrecruiting.com



      __________________________________________________________________________________________
      This communication may be privileged or contain confidential information. If it has been sent to you in
      error, please do not read it, reply to the sender that you received it in error, and delete it. Any distribution
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      __________________________________________________________________________________________


https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permmsgid=msg-f%3A1669675453998601596&dsqt=1&simpl=msg-f%3A16696… 1/3



     Exhibit 5 to REK Decl. July 4, 2020
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6/27/2020                                        Kinney Recruiting, Inc. Mail - Discovery Gaps - Steve Kang Email
      On Tue, Jun 16, 2020 at 10:48 AM Robert Tauler <rtauler@taulersmith.com> wrote:
       Respectfully, that is wrong. You are a competitor of Evan's and you are prohibited from reviewing any documents
       marked Attorney's Eyes Only. This is true irrespective of your status as an attorney for MWK and the other entities.
       Diamond Consortium, Incorporated v. Hammervold (5th Cir. 2018) 737 Fed.Appx. 194, 196–197. You cannot, as a
       competitor of Evan, have access to any material deemed Attorneys Eyes Only or "Classified" under the protective
       order.

            The "Classified" designation is defined in the protective order as including "confidential or proprietary financial
            information, operational data, business plans, and competitive analyses, personnel files, personal information that is
            protected by law, and other sensitive information that, if not restricted as set forth in this order, may subject
            theproducing or disclosing person to competitive or financial injury or potential legal liability to third parties."

            Please let me know if you have been reviewing documents with the AEO/Classified designation as I believe this is
            improper.

            I acknowledge that this may not have been made clear to you by my predecessor, so I am not trying to cast blame at
            your side if this had not been previously communicated to you. Rather, I think this is something we need to
            immediately address with the Court if we cannot reach an agreement.

            Robert Tauler, Esq.
            Tauler Smith LLP
            626 Wilshire Blvd., Suite 510
            Los Angeles, CA 90017
            (213) 927-9270
            www.taulersmith.com

            On Tue, Jun 16, 2020 at 8:06 AM Robert Kinney <robert@kinneyrecruiting.com> wrote:
             Robert,

              We have a current agreed protective order. There is no designation that excludes me. I am an attorney of record in
              the case. I'm entitled to see everything.

              Moreover, there's a court order to produce the information. You didn't produce it to anyone. You need to
              produce the information immediately or we will be moving to compel.

              REK




              On Tue, Jun 16, 2020 at 09:20 Robert Tauler <rtauler@taulersmith.com> wrote:
               Robert, I think some of the gaps you describe result from the fact that some documents were marked "Attorney's
               Eyes Only" meaning that you are unable to view them as a party to the lawsuit and a direct competitor of
               Defendant.

                I am happy to set up a meet and confer with Ray or your other counsel to discuss this further, but obviously we
                can't share these documents with you.

                Thank you,

                Robert Tauler, Esq.
                Tauler Smith LLP
                626 Wilshire Blvd., Suite 510
                Los Angeles, CA 90017
                (213) 927-9270
                www.taulersmith.com




                On Tue, Jun 16, 2020 12:38 AM, Robert Kinney robert@kinneyrecruiting.com wrote:
                 Rob,


https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permmsgid=msg-f%3A1669675453998601596&dsqt=1&simpl=msg-f%3A16696… 2/3



     Exhibit 5 to REK Decl. July 4, 2020
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6/27/2020                                       Kinney Recruiting, Inc. Mail - Discovery Gaps - Steve Kang Email
                As we discussed this morning, there are some significant gaps in Mr. Jowers's production following the Court's
                order on our Motion to Compel. The attached email is one example. In his most recent production, Mr. Jowers
                produced this email he sent to Joseph Bevash at Latham on December 18, 2016, two days after resigning
                from MWK's employment on Friday, December 16, 2016. He refers in the letter to a conversation he had with
                Latham & Watkins attorney Sungjin Kang, which occurred on Friday, December 16, the day of his resignation.
                The letter says that they talked about an interview of Steve Kang by Sungjin Kang which had occurred prior to
                December 16, 2016.

                In this letter, Jowers introduces his new "evan@evanjowers.com" email address, which implies he did not
                send the original email submitting Steve Kang from that address, bur rather from a different one, or Mr. Vargas
                sent the submission. We have no record that he sent Mr. Kang's submission from any @kinneyrecruiting.com
                email address.

                This raises two questions:

                1. Will Mr. Jowers produce the email related to candidate submissions regardless of what email server he
                used to send them?

                2. By when can he produce the rest of the email messages that the court-ordered produced by May 25?

                Robert

                Robert E. Kinney, Esq.
                Kinney Recruiting LLC

                   Office: +1-512-377-1686
                   Cell: +1-512-636-1395
                   Toll Free: +1-888-848-5757 x701
                   Robert@KinneyRecruiting.com

                www.kinneyrecruiting.com



                ____________________________________________________________
                ______________________________
                This communication may be privileged or contain confidential information. If it has been sent to you in
                error, please do not read it, reply to the sender that you received it in error, and delete it. Any distribution
                or other reproduction is strictly prohibited.
                ____________________________________________________________
                ______________________________




https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permmsgid=msg-f%3A1669675453998601596&dsqt=1&simpl=msg-f%3A16696… 3/3



     Exhibit 5 to REK Decl. July 4, 2020
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                                                                                              Robert Tauler, Esq.
                                                                                                 (310) 590-3927
                                                                                        rtauler@taulersmith.com

                                           June 17, 2020

Via Email

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raymort@austinlaw.com

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robert@kinneyrecruiting.com

Tristan C. Loanzon, Esq.
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1345 Avenue of The Americas, 2nd Floor
New York, NY 10105
tristan@loanzon.com

       Re:      MWK Recruiting Inc. v. Jowers, et al., etc., Civil Action No.: l:l8-cv-00444-RP

Dear Counsel:

       On behalf of Defendant Evan Jowers, I request to meet-and-confer with you regarding
your evident non-compliance with the Confidentiality and Protective Order of February 26, 2019
(Dkt. 70) (the “Order”).

        The Order specifies that Robert Kinney is not a “Qualified Person[ ]” who is permitted to
receive any “Counsel or Attorneys Only” information. Robert Kinney is not “retained counsel
for the parties in this litigation,” under the definition contained in ¶ 2.a.i of the Order. Instead,
Robert Kinney is a principal executive of the Plaintiff in this action. His name appears on every
single one of the agreements and other business documents attached to his company’s Second
Amended Complaint in this action – starting with the employment agreement with Mr. Jowers
that Robert Kinney signed for the “Company” (see Dkt. 80-1) and most recently, when he
executed the Certificate of Merger for MWK Recruiting Inc. (the Plaintiff in this case) into
Counsel Holdings Inc. (see Dkt. 80-10). Indeed, he is currently using the email address of
“robert@kinneyrecruiting.com,” which includes the same domain as the recruiting business
where he works (or which he runs) in collaboration with its “sister company” of Counsel
Unlimited LLC. See https://www.kinneyrecruiting.com/about-us/ (accessed June 16, 2020). In


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fact, Robert Kinney is the chief executive of Counsel Unlimited LLC – which does business
through the “www.kinneyrecruiting.com” website. And, of course, Robert Kinney is personally
named in this action as a Counterdefendant in the counterclaims by Mr. Jowers against him and
his business affiliates.

       Evidently, however, Robert Kinney has viewed information that Mr. Jowers has
designated “Attorney’s Eyes Only” under the Order. From certain recent emails, I understand
that Robert Kinney also proposes to continue viewing such information – despite Mr. Jowers
having designated it for “Attorney’s Eyes Only” protection. After we meet and confer, I hope
you will stipulate that Raymond Mort and Tristan Loanzon must disclose (by Bates number) all
such documents that have been shared with Robert Kinney and/or with anyone else who is not a
Qualified Person for receiving them. Additionally, I hope you will also stipulate that no such
documents other designated information (such as deposition testimony, for instance) will be
shared with Robert Kinney (nor with anyone else who is not a Qualified Person) in the future.

       I offer those proposals now, in an effort to resolve this dispute by agreement. However,
depending on the number and importance of the designated “Attorney’s Eyes Only” documents
that we may learn Robert Kinney has already have seen, further relief may be necessary. This
could include monetary or other sanctions for contempt of the Order.

        Would each of you three counsel kindly let me know your availability to meet and confer
by telephone regarding this issue? Thank you.

                                                    Sincerely,



                                                    Robert Tauler
                                                    Counsel for Evan Jowers




Exhibit 6 to REK Decl. July 4, 2020
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6/27/2020                                          Kinney Recruiting, Inc. Mail - Improperly Marked Documents



                                                                                      Robert Kinney <robert@kinneyrecruiting.com>



  Improperly Marked Documents
  1 message

  Robert Kinney <robert@kinneypc.com>                                                     Thu, Jun 18, 2020 at 5:23 PM
  To: Robert Tauler <rtauler@taulersmith.com>
  Cc: jthompson@kinneypc.com, Ray Mort <raymort@austinlaw.com>, Luca Stein <lstein@taulersmith.com>, Robert Kohn
  <rkohn@taulersmith.com>, Tristan Loanzon <tristan@loanzon.com>

    Robert,

    Today we discussed our position that the documents marked AEO by Jowers in his most recent production were
    improperly classified as "Attorneys Eyes Only." The documents so marked include such things as pages that came
    straight from public websites. These would not even qualify as Classified Information under the Protective Order (Dkt. 70)
    such that they could have been marked "Confidential," yet they were marked AEO. Of 17,000 pages produced, almost
    6,000 were marked AEO. All of them are three or four years old.

    We object to the designation of all the documents that were designated by you as AEO documents in the most recent
    production. These documents were, at most, documents that could have been designated "Confidential." I have
    attached an HTML file with the relevant Bates numbers of the documents marked AEO in this production. While we
    believe this list is fully inclusive, we have not reviewed all of the pages. You did not include the protective order
    designation in the exported metadata or text, so we had to use OCR to determine what pages were stamped "Attorneys'
    Eyes Only," then run a search and export the attached index. To be clear, our objection relates to every document in the
    most recent production marked "Attorneys' Eyes Only," whether included in the attached index list or not.

    Under the Protective Order, you now have 14 days to move the court for an order preserving the designated status of
    these documents.

    Regards,

    Robert E. Kinney, Esq.
    Attorney at Law
    Mobile: +1-512-636-1395

    ____________________________________________________________________________________
    This communication may be privileged or contain confidential information. If it has been sent to you in
    error, please do not read it, reply to the sender that you received it in error, and delete it. Any distribution
    or other reproduction is strictly prohibited.
    ___________________________________________________________________________________

            AEO - Marked index.html
            991K




https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-a%3Ar6748224243624128707%7Cmsg-a%3Ar120486012623…   1/1



     Exhibit 7 to REK Decl. July 4, 2020
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6/27/2020                                          Kinney Recruiting, Inc. Mail - Qualified Person Designations



                                                                                       Robert Kinney <robert@kinneyrecruiting.com>



  Qualified Person Designations
  1 message

  Robert Kinney <robert@kinneypc.com>                                                     Thu, Jun 18, 2020 at 5:23 PM
  To: Robert Tauler <rtauler@taulersmith.com>
  Cc: jthompson@kinneypc.com, Ray Mort <raymort@austinlaw.com>, Luca Stein <lstein@taulersmith.com>, Robert Kohn
  <rkohn@taulersmith.com>, Tristan Loanzon <tristan@loanzon.com>

    Robert,

    As we discussed today, we had extensive communication with Mr. Bookhout from May 14 to May 20, 2020, regarding
    establishing a third category of protective order designation ("POD") so that Jowers would be able to exclude me from
    viewing a set of documents which Mr. Bookhout described as "very limited." We believe it was clear from those
    communications that we (and DLA) viewed me as Retained Counsel under the Protective Order in this case. You were
    copied on those communications, which included a suggested compromise regarding an amendment to the protective
    order. I have attached another copy of Mr. Bookhout's letter of May 14 and my letter of May 20 here. I never received a
    response.

    As discussed, we have a dispute regarding whether I am properly to be considered retained counsel under Section 2(a)(i)
    of the Protective Order (Dkt. 70). We have now discussed that dispute informally and were unable to agree that I am
    properly to be considered retained counsel.

    You may have waived any objection to my designation as retained counsel by failing to object until a month after this
    conversation began, but perhaps not. You may seek an order under the current Protective Order denying me status as
    retained counsel under the Protective Order if you wish to do so.

    Pursuant to Section 11(b) of the Protective Order, this will constitute official notice that the following persons are
    designated by us as Qualified Persons under the Protective Order in the categories stated:

    a. For Counsel or Attorneys Only information:


            Robert Kinney (retained counsel; attorney of record)
            Raymond Mort (retained counsel; attorney of record)
            Tristan Loanzon (retained counsel; attorney of record)
            Jennifer Thomson (retained counsel)


    b. For Confidential information:

            The persons listed above under (a)


    You now have 14 days to move the court for an order denying me status as a Qualified Person with Access to AEO
    information. You have the burden to demonstrate that disclosure to me of information marked AEO would expose Jowers
    to the risk of "serious harm." My review of the information marked AEO has been limited so far, and I will not engage in
    further review pending your motion for 14 days.

    Regards,

    Robert E. Kinney, Esq.
    Attorney at Law
    Mobile: +1-512-636-1395

    ____________________________________________________________________________________
    This communication may be privileged or contain confidential information. If it has been sent to you in
    error, please do not read it, reply to the sender that you received it in error, and delete it. Any distribution
    or other reproduction is strictly prohibited.
    ___________________________________________________________________________________

https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-a%3Ar8993207261880786687%7Cmsg-a%3Ar-64119773980…   1/2




    Exhibit 8 to REK Decl. July 4, 2020
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6/27/2020                                         Kinney Recruiting, Inc. Mail - Qualified Person Designations



     2 attachments
            2020_5_20 - MWK Response to Letter from DLA re prot order.pdf
            247K
            2020_5_14 - Letter from DLA re Request to Amend Protective Order.pdf
            421K




https://mail.google.com/mail/u/0?ik=0dfc2d9265&view=pt&search=all&permthid=thread-a%3Ar8993207261880786687%7Cmsg-a%3Ar-64119773980…   2/2




    Exhibit 8 to REK Decl. July 4, 2020
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                                                                                            Robert Tauler, Esq.
                                                                                               (310) 590-3927
                                                                                      rtauler@taulersmith.com

                                         June 24, 2020

Via Email

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robert@kinneyrecruiting.com

Tristan C. Loanzon, Esq.
Loanzon LLP
1345 Avenue of The Americas, 2nd Floor
New York, NY 10105
tristan@loanzon.com

       Re:      MWK Recruiting Inc. v. Jowers, et al., etc., Civil Action No.: l:l8-cv-00444-RP

Dear Counsel:

       Pursuant to Paragraph 8 of the Confidentiality and Protective Order (Dkt. 70):

              Documents unintentionally produced without designation as Classified
       Information later may be designated and shall be treated as Classified Information
       from the date written notice of the designation is provided to the receiving party.

               If a receiving party learns of any unauthorized disclosure of Confidential
       information or For Counsel Only information, the party shall immediately upon
       learning of such disclosure inform the producing party of all pertinent facts
       relating to such disclosure and shall make all reasonable efforts to prevent
       disclosure by each unauthorized person who received such information.

On May 27, 2020, I unintentionally produced the “Defendant/Counterclaimant Evan P. Jowers’s
Supplemental Responses and Objections to MWK’s First Revised Set of Interrogatories” without
having designated as “Attorney’s Eyes Only” the response to Interrogatory No. 1. This letter
now affords you notice of the designation.

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       Mr. Kinney and his in-house associate Jennifer Thomas are not “Qualified” to receive
such designated information, under ¶ 2(a) of the order. Accordingly, I request that you please
inform me of all pertinent facts relating to any disclosure to Mr. Kinney or Ms. Thomas (or to
anyone else who is not so “Qualified”) concerning the information contained in the Jowers
response to Interrogatory No. 1, and that you make all reasonable efforts to prevent disclosure by
each unauthorized person who received such information. Thank you.

                                                    Sincerely,



                                                    Robert Tauler
                                                    Counsel for Evan Jowers




Exhibit 9 to REK Decl. July 4, 2020
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                                                                                             Robert Tauler, Esq.
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                                                                                       rtauler@taulersmith.com



                                          July 1, 2020

Via Email

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raymort@austinlaw.com
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Robert E. Kinney, Esq.                              Loanzon LLP
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robert@kinneyrecruiting.com                         tristan@loanzon.com

       Re:      MWK Recruiting Inc. v. Jowers, et al., etc., Civil Action No.: l:l8-cv-00444-RP

Dear Counsel:

        Mr. Kinney disputed the “Attorney’s Eyes Only” designation for Mr. Jowers’s response
to Interrogatory No. 1 contained in “MWK’s First Revised Set of Interrogatories to Defendant
Evan P. Jowers.” During our call on Friday, Mr. Kinney represented that he already knew the
answer to Interrogatory No. 1 before he received the written response.

        Based on that representation, we are re-designating Mr. Jowers’s response to
Interrogatory No. 1 as “Confidential” rather than “Attorney’s Eyes Only” under the
Confidentiality and Protective Order (Dkt. 70).

       Thank you.

                                                    Sincerely,



                                                    Robert Tauler
                                                    Counsel for Evan Jowers




Exhibit 9A to REK Decl. July 4, 2020
